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B2500A (Form 2500A) (12/15)



                                   United States Bankruptcy Court
                              Southern            District Of              Texas

In re Basic Energy Services, Inc., et al.     ,             )          Case No. 21-90002
                Debtor                                      )
                                                            )          Chapter 11
                                                            )
 Basic Energy Services, Inc., et al.                        )
                  Plaintiff                                 )
                                                            )
                  v.                                        )          Adv. Proc. No.
Ascribe Capital LLC and Ascribe III                         )
Investments LLC                                             )
                  Defendant                                 )


                           SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to
this summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this
summons, except that the United States and its offices and agencies shall file a motion or answer to the
complaint within 35 days.

                  Address of the clerk:     U.S. Bankruptcy Court
                                            Att: Clerk of the Court
                                            515 Rusk Street
                                            Houston, TX 77002
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                  Name and Address of Plaintiff's Attorney:           Michael D. Warner (TX Bar No. 00792304)
                                                                      440 Louisiana Street, Suite 900
                                                                      Houston, TX 77002
                                                                      Email: mwarner@pszjlaw.com

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.


                                                                                    (Clerk of the Bankruptcy Court)

         Date:                                     By:                                     (Deputy Clerk)
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                                    CERTIFICATE OF SERVICE

       I,                                       (name), certify that service of this summons and a copy of
the complaint was made                                   (date) by:

              Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
               to:



              Personal Service: By leaving the process with the defendant or with an officer or agent
               of defendant at:



              Residence Service: By leaving the process with the following adult at:



              Certified Mail Service on an Insured Depository Institution: By sending the process by
               certified mail addressed to the following officer of the defendant at:



              Publication: The defendant was served as follows: [Describe briefly]



              State Law: The defendant was served pursuant to the laws of the State of               , as
               follows: [Describe briefly]



         If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date                         Signature

                Print Name:

                Business Address:
